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Case 4:07-cv-05944-JST Document 1452

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Counsel to Defendants Toshiba Corporation,
Toshiba America Information Systems, Inc.,
Toshiba America Consumer Products, L.L.C.,

and Toshiba America Electronic Components, Inc.

Filed 11/19/12 Page 1 of 4

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
(SAN FRANCISCO DIVISION)

IN RE: CATHODE RAY TUBE (CRT) Case No. 07-5944 SC
ANTITRUST LITIGATION MDL No. 1917

This Document Relates to: APPLICATION FOR ADMISSION OF
ALL ACTIONS . ATTORNEY PRO HAC VICE

Pursuant to Rule 11-3 of the Local Rules of Practice in Civil Proceedings before the

United States District Court for the Northern District of California, I, Matthew Frutig, an

active member in good standing of the bar of the highest court in the District of Columbia,

hereby apply for admission to practice in the United States District Court for the Northern

District of California on a pro hac vice basis representing Defendants Toshiba Corporation,

Toshiba America Information Systems, Inc., Toshiba America Consumer Products, L.L.C.,

and Toshiba America Electronic Components, Inc. in the above-entitled action.

APPLICATION FOR ADMISSION OF ATTORNEY PRO HAC VICE
, Case No. 07-5944 SC

MDL No. 1917

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In support of this application, I certify on oath that:

1. I am an active member in good standing of a United States Court or of the
highest court of another state or the District of Columbia, as indicated above;

2. | agree to abide by the Standards of Professional. Conduct set fort in Rule 11-4
of the Local Rules of Practice in Civil Proceedings before the United States District Court
for the Northern District of California, to comply with General Order 45, Electronic Case
Filing, and to become familiar with the Local Rules and Alternative Dispute Resolution
programs of this Court; and

3. An attorney who is a member of the bar of this Court in good standing and
who maintains an office within the State of California has been designated as co-counsel in
the above-entitled action. The name, address, and telephone number of that attorney is:

Bijal Vakil, White & Case LLP, 3000 El Camino Real, Five Palo Alto Square, 9th
Floor, Palo Alto, California 94306, (650) 213-0300.

| declare under penalty of perjury that the foregoing is true and correct.

Dated: November 9, 2012 Respectfully submitted,

ashington, D.C. 20005 )
tel.: (202) 626-3600
fax: (202) 639-9355

Counsel to Defendants Toshiba
Corporation, Toshiba America
Information Systems, Inc., Toshiba
America.Consumer Products, L.L.C., and
Toshiba America Electronic Components,
Inc. —

APPLICATION FOR ADMISSION OF ATTORNEY PRO HAC VICE
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CERTIFICATE OF SERVICE
On November 9, 2012, I caused a copy of the “APPLICATION FOR ADMISSION
OF ATTORNEY PRO HAC VICE” to be served via email upon guido@saveri.com,

rick@saveri.com, grushing@saveri.com, malioto@tatp.com, laurenrussell@tatp.com, as

well as counsel for the defendants who have entered an appearance in this case.

APPLICATION FOR ADMISSION PRO HAC VICE
Case No. 07-5944 SC
MDL No. 1917

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Ristrict of Columbia Court of Appeals

Committee on Admissions
430 & Street, N.A. — Room 123
Washington, B.C. 20001

202 / 879-2710

J, JULIO A. CASTILLO, Clerk of the District of Columbia Court
of Appeals, do hereby certify that

MATTHEW NORMAN FRUTIG

was onthe __6™ day of FEBRUARY, 2012

duly qualified and admitted as an attorney and counselor entitled
to practice before this Court and is, on the date indicated below, an

active member in good standing of this Bar.

In Testimony Whereof, I have
hereunto subscribed my name
and affixed the seal of this Court
at the City of Washington, D.C,
on October 18, 2012.

JULIO A. CASTILLO
Clerk of the Court

By: Dents fanned

Deputy Clerk
